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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA


ALFONSO MANUEL BLAKE,                )                3:19-cv-00321-MMD-WGC
                                     )
                        Plaintiff,   )                MINUTES OF THE COURT
        vs.                          )
                                     )                January 11, 2021
JAMES DZURENDA, et al.,              )
                                     )
                        Defendants.  )
____________________________________ )

PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:        KAREN WALKER             REPORTER:        NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

        Before the court is Plaintiff’s “Motion for Enlargement of Time” (ECF No. 27). Plaintiff
requests a seven (7) day enlargement of time to file and serve his reply to Defendants’ opposition
to Plaintiff’s motion for preliminary injunction.

       Plaintiff’s “Motion for Enlargement of Time” (ECF No. 27) is GRANTED. Plaintiff shall
have to and including January 14, 2021, in which to file and serve his reply to Defendants’
opposition to Plaintiff’s motion for preliminary injunction.

       IT IS SO ORDERED.

                                                    DEBRA K. KEMPI, CLERK

                                                    By: _______/s/_____________
                                                          Deputy Clerk
